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AO 245B (Rev 12/03) Judgment in a Criminal Case

         Sheet 1




                                     United States District Court
                                                  SOUTHERN DISTRICT OF GEORGIA
                                                                                                                         ,U N 2b A . S C
                                                      BRUNSWICK DIVISIO N

         UNITED STATES OF AMERICA                                          JUDGMENT IN A CRIMINAL CAS E
                     V.

               Alma Marie Williams                                          Case Number :              CR205-00037-01 0

                                                                            USM Number :               12410-02 1

                                                                           Keith M. Morri s
                                                                           Defendant's Attorne y


THE DEFENDANT :
[X] pleaded guilty to Count I
       pleaded nolo contendere to Count(s) _ which was accepted
       by the court .
       was found guilty on Count(s)_ after a plea of not guilty .

The defendant has been convicted of the following offense :


      Title & Section Nature of Offense Offense Ended Coun t

      21 U .S .C . § 846 Conspiracy to distribute a quantity of cocaine                                 July 2005 1
                           hydrochloride (powder) and a quantity of marihuana


       The defendant is sentenced as provided in pages 2 through 5 of this judgment . The sentence is imposed pursuant to the Sentencing
Reform Act of 1984 .

         The defendant has been found not guilty on count(s)_ .
         Count(s)_ (is)(are) dismissed on the motion of the United States .


         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by thisjudgment are fully paid . If ordered
to pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances .




                                                                                 June 22, 200 6

                                                                                 Date of Imposition of Judgment


                                                                                     Iei ?--~ A&, Q 2
                                                                                 Signature of Judg e
                                                                                                                 ~f
                                                                                 Judge, U.S . District Court
                                                                                 Name and
                                                                                       { Title of Judge
                                                                                       {

                                                                                 Date
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       Sheet 4 - Probation

DEFENDANT : Alma Marie Williams
CASE NUMBER: CR205-00037-010
                                                                   PROBATIO N
The defendant is hereby sentenced to probation for a term of 5 years .


The defendant shall not commit another federal, state, or local crime .

The defendant shall not unlawfully possess a controlled substance . The defendant shall refrain from any unlawful use of a controlled substance . The
defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests thereafter, as determined by the
court .


II         The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future substance
           abuse . (Check, if applicable . )

[X] The defendant shall not possess a firearm, destructive device, or any other dangerous weapon . (Check, if applicable .)

[X] The defendant shall cooperate in the collection of DNA as directed by the probation officer . (Check, if applicable . )

           The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a student,
           as directed by the probation officer . (Check, if applicable . )

           The defendant shall participate in an approved program for domestic violence . (Check, if applicable . )

           Ifthis judgment imposes a fine or restitution, it is a condition of probation that the defendant pay in accordance with the Schedule of Payments
sheet of this judgment .

          The defendant must comply with the standard conditions that have been adopted by this court as well as any additional conditions on the
attached page.

                                               STANDARD CONDITIONS OF SUPERVISIO N

I) the defendant shall not leave the judicial district without the permission of the court or probation officer ;

2) the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days ofeach month,

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer ;

4) the defendant shall support his or her dependents and meet other family responsibilities ;

5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
          reasons ;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment ;

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any control led substance
          or any paraphernalia related to any controlled substances, except as prescribed by a physician ;

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered ;

9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
          unless granted permission to do so by the probation officer ;
10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
         contraband observed in plain view of the probation officer ;

11)        the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer :

12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission
         of the court ;

13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record
       or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendanr'a cumpliancc
       with such notification requirement ; an d

14) Any possession, use, or attempted use of any device to impede or evade drug testing shall be a violation of probation .
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        Sheet 4C - Probation


DEFENDANT : Alma Marie Williams
CASE NUMBER: CR205-00037-01 0
                        SPECIAL CONDITIONS OF SUPERVISIO N

1 . The defendant shall participate in a program of testing for drug and alcohol abuse and, if the Court
        determines it is necessary, the defendant shall participate in a program of treatment for drug and alcohol
        abuse .

2 . The defendant shall complete 250 hours of community service during the first 24 months after completion
        of the home detention period .

3 . The defendant shall comply with the conditions of home confinement/electronic monitoring for a period of
        6 months . During this time, the defendant will remain at her place of residence at all times and shall not
        leave except when such leave is approved in advance by the probation officer . The defendant will maintain
        a telephone at her place of residence without special se rv ices, including but not limited to, call forwarding,
        caller ID , call waiting , a modem, or cordless telephones , for the above period . At the direction of the
        probation officer, the defendant shall wear an electronic monitoring device and follow electronic monitoring
        procedures specified by the probation officer . The cost of electronic monitoring shall be paid by the
        defendant in an amount to be determined by the probation officer, based on ability to pay or availability of
        third-party payment .

4 . The defendant shall have no contact with codefend ant Jeremy Thompson .




                                                     ACKNOWLEDGMEN T

Upon finding of a violation of probation or supervised release, I understand that the cou rt may ( 1) revoke
supe rvision, (2) extend the term of supervision, and/or (3) modify the conditions of supervision.

These conditions have been read to me . I fully understand the conditions and have been provided a copy of them .



     (Signed)
                      Defendant                             Dat e




                      U . S . Probation Officer /Designated Witness Date
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       Sheet 5 - Criminal Monetary Penaltie s


DEFENDANT : Alma Marie Williams
CASE NUMBER : CR205-00037-01 0
                            CRIMINAL MONETARY PENALTIE S

         The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6 .

                                                          Assessmen t                      Fine Restitutio n

 Totals :              $100                                                             $2,00 0

     The determination of restitution is deferred until _ . An Amended Judgment in a Criminal Case (AO 245C) will be entered after
         such a determination .

     The defendant must make restitution (including community restitution) to the following payees in the amounts listed below .

        If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
        otherwise in the priority order or percentage payment column below . However, pursuant to 18 U .S .C . § 3664(i), all nonfederal
        victims must be paid before the United States is paid .


            Name of Payee Total Loss*                                      Restitution Ordered Priority or Percentag e



               Totals :


         Restitution amount ordered pursuant to plea agreement                $

         The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
         the fifteenth day after the date of judgment, pursuant to 18 U .S .C . § 3612(f) . All of the payment options on Sheet 6 may be subject
         to penalties for delinquency and default pursuant to 18 U .S .C . § 3612(g) .
II       The court determined that the defendant does not have the ability to pay interest and it is ordered that :

                   The interest requirement is waived for the [ ] fine [ ] restitution .
                   The interest requirement for the [ ] fine [ ] restitution is modified as follows :


* Findings for the total amount of losses are required under Chapters 109A, 110, 110A and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996 .
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        Sheet 6 - Criminal Monetary Penaltie s


DEFENDANT : Alma Marie Williams
CASE NUMBER: CR205-00037-010
                                                      SCHEDULE OF PAYMENT S

Having assessed the defendant ' s ability to pay, payment of the total criminal monetary penalties shall be due as follows :

A [X]     Lump sum payment of $ 100 due immediately , balance du e

                not later than _ ; or
                in accordance with [X] C, [ ] D, [ ] E, or [ ] F below; or

B[   ] Payment to begin immediately ( maybe combined with [ ] C, [                     ] D, or [ ] F below) ; o r

C [X] Payment in equal monthly             installments of 100 over a period of         20 months , to commence 30 days after the date of this
        judgment; or

D[ ] Payment in equal _ ( e.g ., weekly , monthly , quarterly ) installments of $ over a period of __ (e .g ., months or years), to commence
       _(e .g ., 30 or 60 days ) after release from imprisonment to a term of supe rv ision ; o r

E[ ] Payment during the term of supervised release will commence within _ ( eg ., 30 or 60 days ) aft er release from imprisonment .
       the court will set the payment plan based on an assessment of the defendant ' s ability to pay at that time ; o r

F[   ] Special instructions regarding the payment of criminal moneta ry penalties :



Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment . All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons'
Inmate Financial Responsibility Program, are made to the clerk of the court .
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed .

          Joint and Several
             Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several
             Amount, and corresponding payee, if appropriate :



II        The defendant shall pay the cost of prosecution .


II        The defendant shall pay the following court cost(s) :



II        The defendant shall forfeit the defendant's interest in the following property to the United States :



Payments shall be applied in the following order : (1) assessment ; (2) restitution principal ; (3) restitution interest ; (4) fine principal ; (5) fine
interest ; (6) community restitution ; (7) penalties, and (8) costs, including cost of prosecution and court costs .
